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                     EXHIBIT B
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                               UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF NEW YORK




  In re Google Digital Advertising Antitrust Litig.       Civil Action No. 21-MD-3010 (PKC)




               [PROPOSED] ORDER REGARDING DISCOVERY PROCEDURE

       WHEREAS, Rule 26(f) of the Federal Rules of Civil Procedure states that the parties must

develop a proposed discovery plan that states the parties' views and proposals on, among other

things, "any issues about disclosure, discovery, or preservation of electronically stored

information, including the form or forms in which it should be produced," Fed. R. Civ. P.

26(f)(3)(C);

       WHEREAS, the parties mutually seek to reduce the time, expense, and other burdens of

discovery of certain electronically stored information (“ESI”) and privileged materials, as

described further below, and to better define the scope of their obligations with respect to

preserving such information and materials;

       WHEREAS, the parties are aware of the importance of cooperation and commit to

cooperate in good faith throughout the matter to promote the "just, speedy, and inexpensive

determination" of this action, as required by Fed. R. Civ. P. 1. The parties agree to use reasonable,

good faith, and proportional efforts to preserve, identify and produce relevant and discoverable

information consistent with Fed. R. Civ. P. 26(b)(1). The parties’ cooperation includes identifying

appropriate limits to eDiscovery, including limits on custodians, identifying relevant and

discoverable subject matter, establishing time periods for eDiscovery and other parameters to limit

and guide preservation and eDiscovery issues;




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        NOW THEREFORE, it is hereby ORDERED:

I.      GENERAL PROVISIONS

     1. Except as specifically set forth herein, this Order does not alter or affect the applicability

        of the Federal Rules of Civil Procedure or Local Rules for the United States District Court

        for the Southern District of New York.

     2. The production specifications set forth in this Stipulation and Order apply to Documents

        and ESI that is produced in response to requests issued pursuant to Fed. R. Civ. P. 34 or

        45be produced in the first instance in the above-captioned litigation. To the extent any

        producing party reproduces Documents or ESI previously produced by any party or Non-

        Party during thea pre-complaint investigation of the subject matter of this litigation by the

        Plaintiff States,(including but not limited to the Investigation Materials as defined in the

        Protective Order, ECF No. 297 at 5), that party may reproduce such Documents or ESI in

        the manner in which it was previously produced to that. 1 No party. 2 To the extent a

        receiving party discovers documents that were previously produced during the pre-

        complaint investigation by the Plaintiff States are not fully readable or useable (for

        example, encrypted files, spreadsheet files that have been tiffed, etc.), have been produced

        in is obligated to reformat a manner that withholds content presentreproduction of any

        prior production in the native document, or produced without live links, the receiving

        party may request that more readable versions or links be produced, which

        shallaccordance with the production specifications in this Stipulation and Order. The

        production specifications set forth in this Stipulation and Order do not be unreasonably




1
  The parties will meet and confer concerning the applicability of this Stipulation and Order to Documents reproduced
in this action that were previously produced in another action or as part of a pre-complaint investigation.
2
  The parties will meet and confer concerning the applicability of this Stipulation and Order to Documents reproduced
in this action that were previously produced in another action or as part of a pre-complaint investigation.
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   refused.apply to databases, data sources, logs, and other structured data except as

   described in paragraph L below.

3. “Actions” means collectively the actions centralized by the Judicial Panel on Multidistrict

   Litigation under the caption In re Google Digital Advertising Antitrust Litig., No. 21-MD-

   3010 (PKC) (S.D.N.Y.), as well as any additional actions subsequently transferred and/or

   centralized with these Actions, including any related discovery, pretrial, trial, post-trial, or

   appellate proceedings. The term Action means an individual action within the Actions.

   For the avoidance of doubt, “Actions” excludes pre-suit investigations by State Plaintiffs.

4. ESI Liaisons.

    a. Designation: Each party agrees to designate one or more ESI Liaisons within ten (10)

        days after entry of this ESI Protocol. Any party is free to change its designated ESI

        Liaisons by providing written notice to the other parties.

    b. Duties of ESI Liaisons: Each ESI Liaison will be prepared to participate in the

        resolution of any e-discovery disputes or ESI issues that may arise (or designate

        another person as primarily responsible), be knowledgeable about the party's

        eDiscovery efforts, have reasonable access to personnel most knowledgeable about the

        Party's electronic systems and capabilities in order to, as appropriate, explain those

        systems and answer relevant questions, including the location, nature, accessibility,

        format, collection, search methodologies, and production of ESI in this matter, and

        have reasonable access to those who are knowledgeable about the technical aspects of

        eDiscovery, including electronic document storage, organization, and format issues,

        and relevant information retrieval technology, including search methodology. The

        parties will rely on the liaisons, as needed, to confer about ESI and to help resolve

        disputes without court intervention.


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II.      PRESERVATION

      1. Materials To Be Preserved. Each Party will continue its retention practices with regards

         to all Documents and ESI and will take reasonable and proportionate steps to preserve

         relevant and discoverable ESI in compliance with duties to preserve material under the

         Federal Rules of Evidence and the Federal Rules of Civil Procedure. Upon mutual

         agreement of the parties, a party will modify its retention practices to ensure the

         preservation of potentially responsive Documents and ESI.

      2. To reduce the costs and burdens of preservation and to ensure proper ESI is preserved,

         the parties agree that:

        a. Parties shall preserve non-duplicative relevant electronically stored information in

            their possession, custody, or control.

        b. Subject to and without waiving any protection described above, the parties agree that:

                 i.      The parties will endeavor to agree upon a date limitation for the

                         preservation of ESI;

                 ii.     The parties will endeavor to agree upon a list of the types of relevant ESI

                         they believe should be preserved and the custodians for whom they

                         believe relevant ESI should be preserved. The parties shall add or remove

                         custodians as reasonably necessary.

      3. ESI That Is Not Reasonably Accessible. The following categories of ESI are not

         reasonably accessible in this litigation and the parties agree that they need not be

         preserved, searched, collected, or reviewed. The parties will continue to meet and confer

         regarding any additional categories of information that are not reasonably accessible.

         a. Back-up systems used for disaster recovery and tapes used for disaster recovery;

         b. Individual user data subject to routine disposition required by privacy regulations;



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         c. Information from handsets, mobile devices, personal digital assistants, and tablets

              that is duplicative of information that resides in a reasonably accessible data source;

         d. Logs of calls made from cellular phones that duplicate information that resides in a

              reasonably accessible data source;

         e. Voicemail messages;

         f. Slack, fragmented, or unallocated data accessible only by forensics;

         g. Data stored in random access memory ("RAM"), temporary files, or other ephemeral

              data that are difficult to preserve without disabling the operating system;

         h. Online access data such as temporary or cache files, including internet history, web

              browser cache and cookie files, wherever located;

         h.i. Data in metadata fields that are frequently updated automatically, such as last-opened

              or last modified dates;

         j.   Server, system, or network logs;

         i.k. Ad log files concerning ads viewed outside the United States, Canada, the United

              Kingdom, Australia, New Zealand, and the European UnionIreland; 3

         l.   Dynamic fields of databases, dashboards, or log files;

         j.m.Systems no longer in use that cannot be accessed as of the date the preservation

              obligation was triggered; and

         k.n. Information created or copied during the routine, good-faith performance of processes

              for the deployment, maintenance, retirement, and/or disposition of computer




3
  Google takes the position that EU ad log files are not relevant or necessary, and that it would be unduly burdensome
for Google to preserve EU ad log files. Plaintiffs disagree and reserve all rights. Nevertheless, given Google’s
position, Google is precluded from taking any position whatsoever based on EU ad log files that it does not preserve
or produce in this litigation. Nothing in this Order shall be construed to mean that ad log files concerning ads viewed
within the United States, Canada, the United Kingdom, Australia, New Zealand, and Ireland are relevant to this
dispute. The parties agree to meet and confer regarding a relevant and proportionate set of ad logs in these
jurisdictions to be sampled and/or preserved.
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              equipment by the party that is duplicative of information that resides in a reasonably

              accessible data source.

       4. Nothing in this section allows parties to destroy or otherwise fail to preserve encryption

          keys, mapping tables, identifiers, or other data sources that are necessary to make

          relevant ESI and Documents useable for the purposes of this Action.Nothing in this

          Stipulation and Order prevents any party from asserting, in accordance with the Federal

          Rules of Civil Procedure, that other categories of Documents or ESI are not reasonably

          accessible.

       5. Preservation Does Not Affect Discoverability or Claims of Privilege. By preserving

          Documents and ESI for the purpose of this litigation, the Parties are not conceding that

          such material is discoverable, nor are they waiving any claim of privilege.

III.      COLLECTION AND REVIEW

       1. The parties agree that in responding to an initial Fed. R. Civ. P. 34 request, they will meet

          and confer about methods to search ESI in order to identify ESI that is subject to

          production in discovery and filter out ESI that is not subject to discovery.

       2. The parties will meet and confer in good faith regarding search terms or use of

          technology-assisted review or a similar tool (collectively "TAR") to identify responsive

          documents. In the event a party elects to use search terms, if a requesting party objects to

          the sufficiency of the producing party's terms, the requesting Party may propose

          modifications or a list of additional terms. The parties will meet and confer in good faith

          regarding any proposed changes. Any disputes over search terms that cannot be resolved

          between the parties during a meet and confer may be consequently raised with the Court.

       3. Nothing in this Order may be construed or interpreted as precluding a producing party

          from performing a responsiveness review to determine if documents captured by search


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   terms are in fact relevant to the requesting party's request. Nothing in this Order

   precludes a party from using TAR, or some other method to fulfill their document

   production obligations, provided that the party discloses to the other party the process

   used and complies with the meet and confer obligations outlined in this Order. However,

   a producing party that wishes to use TAR in combination with search terms must meet

   and confer with the receiving party before using this method to collect and review

   documents and prior to negotiation of search terms. Nothing may be construed or

   interpreted as precluding a producing party from performing a privilege review of

   documents determined to be relevant by any means. Further, nothing in this Order shall

   be construed or interpreted as requiring the production of all documents captured by any

   search term or TAR if that document is in good faith and reasonably deemed not relevant

   to the requesting party's request or privileged.

4. Each party will use its best efforts to filter out common system files and application

   executable files by using a commercially reasonable hash identification process. Hash

   values that may be filtered out during this process are located in the National Software

   Reference Library ("NSRL") NIST hash set list.

5. De-Duplication. Each party is required to produce only a single copy of a responsive

   document. A producing party electing to deduplicate mayshall deduplicate across

   Custodians and at the family-level only (i.e., if there are identical child documents that

   have different parents, they are not duplicative, and an attachment to a document is not a

   duplicate of the same document maintained as a standalone document). Each party may

   de-duplicate responsive ESI (based on Source Hash, MD5 hash values, or other industry

   standard method) across Custodians. For emails with families, the hash value is generated

   based on the parent/child document grouping. To the extent that deduplication through


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   hash values is not possible, the parties shall meet and confer to discuss any other

   proposed method of deduplication. A producing party must make reasonable effort to

   identify all agreed upon custodians who were in possession of any de-duplicated

   documents through an appropriate load file field such as All Custodians. Additionally, all

   BCC recipients whose names would have been included in the BCC metadata field, to the

   extent such metadata exists, but are excluded because of horizontal/global de-duplication,

   must be identified in the BCC metadata field specified in Appendix 1. In the event of

   rolling productions of documents or ESI, the producing party will, as needed, supplement

   the load files with updated All Custodian information, as well as BCC information to the

   extent such metadata exists. Duplicate custodian information may be provided by a

   metadata overlay and will be provided by a producing party on an ongoing basis.

6. Email Threading. Production of a most inclusive email thread does not relieve the

   Producing Party of its obligation to produce responsive prior or lesser-included emails.

   No document shall be withheld from production solely on the basis that it is included in a

   produced more-inclusive email.Where multiple email messages are part of a single chain

   or "thread," a party is only required to produce the most inclusive message ("Last In

   Time Email") and need not produce earlier, less inclusive email messages or "thread

   members" that are fully contained, including attachments and inline objects (including

   inline images and hyperlinks) and including identical text, identical subject(s), identical

   senders and recipients (including in "to," "cc," and "bcc" fields), within the Last In Time

   Email. Only email messages (including inline objects, text, subject(s), and senders and

   recipients) and all attachments that are fully contained in and identical to the Last In

   Time Email will be considered less inclusive email messages that need not be produced.




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   7. Cooperation. The Parties agree to work together in good faith to resolve any differences

       that they may have over the Producing Party's use of search terms, TAR, or a

       combination of the search terms and TAR, or some other method, or for documents that

       cannot be searched electronically.

   8. Filtering. If a producing party proposes to apply other filters to limit Documents and ESI

       that is collected for processing and review (e.g., filters that identify system files, non-user

       generated files, or zero-byte files), the producing party shall advise the requesting party

       and the requesting and producing parties shall meet and confer regarding such additional

       proposed filters.

Each Party shall use its institutional knowledge of how its ESI is stored and accessed in the

ordinary course of business to identify responsive Documents. This institutional knowledge

includes, but is not limited to, a Party’s standard practices regarding the storage of ESI, its file

organization structure, its usage of group ownership, group accounts, and shared network

locations to manage or organize ESI.




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IV.      PRODUCTION FORMAT

      1. Subject to paragraph I.2 above, the parties agree to produce documents in the formats

         described in Appendix 1 to this Order. If particular documents warrant a different format,

         the parties will cooperate to arrange for the mutually acceptable production of such

         documents. The parties agree, to the extent practicable, not to materially degrade the

         searchability of the documents as part of the document production process.

V.       PRIVILEGE LOGS

      1. Any Producing Party will produce a privilege log within 3060 days after substantial

         completion of anyits production from which material wasof documents responsive to

         initial requests and 45 days after any subsequent production. Except as provided otherwise

         below, for any Document withheld or redacted. The, the Producing Party will produce

         privilege logs in MS Excel (.xlsx) format.

      2. If any member of a produced Document Family is withheld on grounds of privilege or

         work-product, the Producing Party shall produce a Bates stamped placeholder slipsheet

         that identifies the Document as withheld as privileged and shall identify the Document in

         the Privilege Log by the Bates number on the placeholder slipsheet.

      3. Privilege logs shall be provided containing the following information, to the extent

         reasonably available:

             a. A sequential number associated with each entry in the privilege log (Column A:

                 row 1, row 2, row 3, etc.);

             b. Where applicable, BegBates and Parent BegBates;

             c. The Custodian or Custodial or Non-Custodial Data Source from which the

                 Document was collected;

             d. The name of each person who sent, authored, or otherwise prepared the Document;



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       e. The identity of each person designated as an addressee or copyee, including CC

            and BCC (copyees and blind copyees shall appear in separate fields);

       f.   The date;

       g. A description, pursuant to Federal Rule of Civil Procedure 26(b)(5)(A)(ii), of the

            contents of the withheld Document that, without revealing information that is itself

            privileged or protected, is sufficient to enable other Parties to understand the

            general subject matter of the Document and assess the basis of the claim of

            privilege or other protection from disclosure;

       h. The name of the attorney(s) andor legal organization who provided the legal

            advice at issue, from whom the legal advice at issue is requested, who directed the

            facilitation of the legal advice at issue, and/or who requested or prepared the

            Document;

       i.   The nature of the privilege or protection asserted (i.e., attorney-client privilege,

            work product doctrine).

4. If a Producing Party contends that all Documents of a particular type or category are

   privileged, they may request permission from and shall meet and confer with the

   Receiving Party to identify such Documents on a privilege log by category rather than

   individually. The Receiving Party shall consider any such request in good faith. The

   Producing Party’s categorical privilege log entry must still provide the Requesting Party,

   and the Court if necessary, with information sufficient to evaluate the Producing Party’s

   privilege claims.

5. A single document containing multiple email messages (i.e., in an email chain) may be

   logged as a single entry, if it is produced in redacted form with all email header

   information visible..


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    6. Each entry on a privilege log must indicate each person, group, or entity who was acting

        in a legal capacity with respect to that particular Document.

    7. If the Producing Party contends that more than one basis for withholding applies to a

        single Document, all bases must be asserted in the privilege log.

    8. Exclusions. To the extent any of the following Documents are privileged or otherwise

        protected from disclosure by Federal Rule of Civil Procedure 26(b)(3)-(4), they may be

        excluded from privilege logs:

            a. Documents solely in the possession of outside counsel and their agents who

                 represent a Party in any of these Actions;

            b. Documents sent solely among a Party’s outside counsel and their agents;

            c. Documents that are non-discoverable or excluded from privilege log obligations

                 under the Expert Stipulation;

            d. Documents sent solely between counsel for the United States and counsel for any

                 state;

            e. Documents sent solely between counsel for any State and counsel for any other

                 State;

            f.   Documents sent solely between outside counsel (and their agents) who represent a

                 Party in any of these Actions and inside counsel for a Party;

            g. Documents sent solely between or among counsel for any Plaintiff (including such

                 counsel’s agent(s));(i) Defendants’ counsel, or (ii) Plaintiffs’ counsel. 4




4
  Sub-paragraph V.8(g) shall only shall only apply to communications occurring after December 16, 2020
(though no party waives any attorney-client or other privilege it may have over pre-December 16, 2020
communications). For purposes of this Order, “Plaintiffs’ counsel” includes counsel for any Plaintiff in an
Action and “Defendants’ counsel” includes counsel for any Defendant in an Action.
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       h. Documents sent solely among outside counsel and their agents who represent a

            Party in any of these Actions and the Parties they represent in these Actions,

            regarding the prosecution or defense of these Actions; and

       i.   Documents the Producing Party may properly exclude from a privilege log

            pursuant to any subsequent order in the Actions.

9. If a Document contains both privileged and non-privileged communications, the non-

   privileged communications must be produced, either by separately producing a copy of

   the non-privileged communications embedded in the privileged communication, or by

   producing a copy of the entire communication string with the privileged portion(s)

   redacted. The redactions shall be narrowly applied so the Receiving Party has the ability

   to discern to the maximum extent practicable the privilege assertion within the Document

   and to view all non-privileged communications and material.

10. Redactions based on relevance or responsiveness or confidentiality are disallowed. For the

   avoidance of doubt, (a) to the extent that any Document contains or reflects Source Code,

   as defined by the Confidentiality Order entered on May 11, 2022, ECF No. 297, such

   Document will be governed by Appendix C of that Confidentiality Order, and (b) nothing

   in this Stipulation and Order prevents any party from redacting personal data and

   personally identifying numbers or sensitive information from produced documents,

   consistent with the requirements under Federal Rule of Civil Procedure 5.2 and Local

   Rules. The Parties do not waive any objections to the production, discoverability,

   admissibility, or confidentiality of Documents.

11. If a Document is produced with redactions, the redactions must not obscure any header

   information (e.g., from, to, subject, sent date) of any emails or other communications

   reflected in the Document, except to the extent that information is privileged.


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12. A Party who, pursuant to a request under Federal Rule of Civil Procedure 34 or a non-

   party, pursuant to a request under Federal Rule of Civil Procedure 45, re-produces

   Documents from other matters, may produce privilege logs relating to that production in

   the manner they were produced in such other matters, so long as the privilege logs comply

   with Federal Rule of Civil Procedure 26(b)(5)(A). The party shall, however, reproduce

   these logs in Excel format upon request if reasonably possible to do so.




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VI.      MISCELLANEOUS PROVISIONS

      1. Motions. The parties shall raise discovery disputes in accordance with the Individual

         Practices of Judge Kevin P. Castel. Discovery Disputes shall be brought on by letter and

         the parties shall comply with Local Civil Rule 37.2 unless otherwise ordered. A Discovery

         Dispute Letter to the Court shall contain the certification required under Rule 37(a)(1),

         Fed. R. Civ. P., and the full text of any discovery request and response or objection

         thereto, together with any case law support and any affidavits required to adjudicate the

         issue. The party from whom discovery is sought shall respond within four business days

         and shall include any case law support and any affidavits required to adjudicate the issue.

      2. Costs of Document Production. Unless this Court orders otherwise for good cause shown,

         each party and non-party shall bear the costs of collecting, processing, reviewing, and

         producing its own documents.

      3. Integration/Appendices. The following documents are incorporated herein by reference:

            a.    "Appendix 1" is a document describing the production format and fields to be

                   included in the documents produced by each party.



SO ORDERED this _____ day of ____________________, 2022

                                                           ________________________
                                                           HON. P. KEVIN CASTEL
                                                           U.S. District Judge




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                          APPENDIX 1: PRODUCTION FORMAT

A.     Production Components. Except as otherwise provided below, ESI shall be produced in

accordance with the following specifications:

      1. An ASCII delimited data file (.DAT) with ASCII 020 for the comma character and

          ASCII 254 for the quote character and ASCII174 for new line character, with all

          values in a multi-value field separated by a semi-colon ASCII 059 (with the use of

          commas and quotes as delimiters not acceptable using standard delimiters) and

          encoded in UTF-8;

      2. An image load file (.OPT) that can be loaded into commercially acceptable production

          software (e.g. Concordance). The Image Load File shall contain the following comma-

          delimited fields: BEGBATES, VOLUME, IMAGE FILE PATH, DOCUMENT

          BREAK, FOLDER BREAK, BOX BREAK, PAGE COUNT;

      3. TIFF images;

      4. Document level .TXT files for all documents containing extracted full text or OCR text;

      5. Parent-child relationships will be maintained in production and child files should be

          produced consecutively following parent files and shall be sequentially Bates stamped.

          The Producing Party shall ensure the metadata fields for BegAttach and EndAttach

          referenced in Part D of this Appendix A are accurately populated;

      6. Document families must be produced, even if only the parent email or an attachment to

          an email is responsive, except (1) common system files and application executable files

          pursuant to paragraph III.4 above, and (2) documents that are withheld on the basis of

          attorney-client privilege or work product protection. For the avoidance of doubt,

          documents that are linked are not part of the same family for purposes of this Order.

          Linked documents are governed by Appendix J below.


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       If a particular document or category of documents warrants a different production format,

for example if it is impractical to produce an entire document family for particular documents, the

parties will cooperate in good faith to arrange for a mutually acceptable production format.

B.     Production Media and Access Controls. Documents shall be produced through

electronic means, such as secure file sharing methods (e.g. FTP) or on CD, DVD, flash drive or

external hard drive ("Production Media"). Each piece of Production Media shall identify a

production number corresponding to the production volume (e.g. "VOL001"). Each piece of

Production Media shall also identify: (a) the producing party's name; (2) the production date; (3)

the Bates Number range of the materials contained on the Production Media.

       Nothing in this Order will preclude or impair any and all protections provided the parties

by any Protective Order(s) agreed and entered into by the parties. Any data produced by the

producing party must be protected in transit, in use, and at rest by all in receipt of such data.

Parties will use best efforts to avoid the unnecessary copying or transmittal of produced

documents. Any copies made of produced data must be kept on media or hardware employing

whole-disk or folder level encryption or otherwise secured on information systems and networks

in a manner consistent with the best practices for data protection. If questions arise, Parties will

meet and confer to ensure security concerns are addressed prior to the exchange of any

documents.

C.     Data Load Files/Image Load Files. All production items will be provided with a

delimited data file or "load file," which will include both an image cross-reference load file (such

as an Opticon file) and a metadata (.dat) file with the metadata fields identified below on the

document level to the extent available. Each TIFF in a production must be referenced in the

corresponding image load file. The total number of documents referenced in a production's data

load file should match the total number of designated document breaks in the image load file(s)


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in the production. The total number of pages referenced in a production's image load file should

match the total number of TIFF files in the production. All images must be assigned a unique

Bates number that is sequential within a given document and across the production sets. The

Bates numbers in the image load file must match the corresponding documents’ beginning Bates

numbers in the data load file. The total number of documents in a production should match the

total number of records in the data load file. Load files shall not vary in format or structure

within a production, or from one production to another.

D.      Metadata Fields. With the exception of hard copy paper documents, which are

separately addressed in paragraph M below, and except as provided in I.2, each of the metadata

and coding fields set forth below that can be extracted shall be produced for each document

produced in the first instance in this litigation, to the extent reasonably practicable. The parties

are not obligated to populate manually any of the fields below if such fields cannot be extracted

from a document, with the exception of the following: (a) BEGBATES, (b) ENDBATES, (c)

BEGATTACH, (d) ENDATTACH, (e) CUSTODIAN, (f) ALLCUSTODIANS, (g)

CONFIDENTIALITY, (h) REDACTIONS, (i) NATIVEFILEPATH, and (j) TEXTFILEPATH,

which should be populated by the party or the party's vendor. The parties will make reasonable

efforts to ensure that metadata fields automatically extracted from the documents correspond

directly to the information that exists in the original documents.

                  Field Name 5                               Field Description

    BEGBATES                                                 Beginning Bates number as stamped on the
                                                             production image
    ENDBATES                                                 Ending Bates number as stamped on the
                                                             production image
    BEGATTACH                                                First production Bates number of the first
                                                             document in a family

5
 Field names can vary from system to system and even between different versions of systems. Thus, Parties are to be
guided by these Field Names and Field Descriptions when identifying the metadata fields to be produced for a given
document pursuant to this ESI Protocol Order.
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ENDATTACH                                 Last production Bates number of the last
                                          document in a family
CUSTODIAN                                 Individual from whom the document originated
ALLCUSTODIAN(S)                           Individual(s) whose documents de-duplicated
                                          out
CONFIDENTIALITY                           Confidentiality designation assigned to
                                          document
MD5 HASH VALUE                            MD5 hash value of document



AUTHOR                                    Any value populated in the Author field of
                                          the document and/or Google Drive
                                          properties (Edoc or attachment only)
DATECREATED                               Date the document was created (format:
                                          MM/DD/YYYY) (Edoc or attachment only)
DATEMODIFIED                              Date when document was last modified
                                          according to filesystem information
                                          (format: MM/DD/YYYY) (Edoc or
                                          attachment only)
FROM                                      The name and email address of the sender of
                                          the email
TO                                        All recipients that were included on the "To"
                                          line of the email
CC                                        All recipients that were included on the "CC"
                                          line of the email
BCC                                       All recipients that were included on the "BCC"
                                          line of the email
ATTACHMENT COUNT                          Number of Attached Documents

ATTACHMENT NAME                           File name of the document attachment or
                                          embedded document; associate with the
                                          parent/email which lists any and all filenames
                                          of the children/attachments delimited by a
                                          semicolon. The field would be populated for
                                          parent documents (not for the children)
ATTACHMENTID                              The IDs of the documents that are attached to
                                          the produced document
COMPANIES                                 Globally populated field containing the name
                                          of producing party (not the law firm or vendor
                                          name). Not pulled from metadata.
DATE CREATED                              Date the electronic file was created. Format:
                                          MM/DD/YYYY.
TIME CREATED                              Time the electronic file was created (format:
                                          HH:MM:SS)

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DATERECEIVED                           Date email was received (format:
                                       MM/DD/YYYY)
DATESENT                               Date email was sent (format: MM/DD/YYYY)
DATESTART                              Start date and time of calendar appointments,
                                       voice messages, chats, text message
                                       conversations. Format: MM/DD/YYYY
                                       HH:MM:SS (use 24 hour times, e.g.,
                                       13:32:00 for 1:32 pm); time zone indicators
                                       cannot be included.
DATEEND                                End date and time of calendar appointments,
                                       voice messages, chats, text message
                                       conversations. Format: MM/DD/YYYY
                                       HH:MM:SS (use 24 hour times, e.g.,
                                       13:32:00 for 1:32 pm); time zone indicators
                                       cannot be included.
DRIVE COLLABORATORS                    Users with access to edit a Google Drive
                                       document. See
                                       https://support.google.com/vault/answer/60994
                                       59#drivexml&zippy=%2Cfile-parameters-in-
                                       the-metadata-file.
DOC ID                                 Google Drive unique identifier. See
                                       https://support.google.com/vault/answer/60994
                                       59#drivexml&zippy=%2Cfile-parameters-in-
                                       the-metadata-file.
DRIVE VIEWERS                          Users with access to view a Google Drive
                                       Document. See
                                       https://support.google.com/vault/answer/60994
                                       59#drivexml&zippy=%2Cfile-parameters-in-
                                       the-metadata-file.
DOCUMENT TYPE                          The file type for Google files. See
                                       https://support.google.com/vault/answer/60994
                                       59#drivexml&zippy=%2Cfile-parameters-in-
                                       the-metadata-file.
DRIVE OTHERS                           The accounts from a Google Drive query that
                                       have indirect access to the file. See
                                       https://support.google.com/vault/answer/60994
                                       59#drivexml&zippy=%2Cfile-parameters-in-
                                       the-metadata-file.
DRIVE SITES TITLE                      Metadata included with Google Drive exports
                                       for sites, including the name of the page. See
                                       https://support.google.com/vault/answer/60994
                                       59#drivexml&zippy=%2Cfile-parameters-in-
                                       the-metadata-file.
DRIVE PUBLISHED URL                    Metadata included with Google Drive exports
                                       for sites, including the web address of the
                                       published page. See

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                                       https://support.google.com/vault/answer/60994
                                       59#drivexml&zippy=%2Cfile-parameters-in-
                                       the-metadata-file.
DRIVE DOC PARENT ID                    Metadata included with Google Drive exports
                                       for sites, including a unique identifier for the
                                       site. See
                                       https://support.google.com/vault/answer/60994
                                       59#drivexml&zippy=%2Cfile-parameters-in-
                                       the-metadata-file.
DRIVE SHARED DRIVE ID                  The Google Drive identifier of the shared drive
                                       that contains the file. See
                                       https://support.google.com/vault/answer/60994
                                       59#drivexml&zippy=%2Cfile-parameters-in-
                                       the-metadata-file.
DRIVE CLIENT SIDE ENCRYPTED            In Google Drive, indicates the file was
                                       encrypted with Google Workspace Client-side
                                       encryption. See
                                       https://support.google.com/vault/answer/60994
                                       59#drivexml&zippy=%2Cfile-parameters-in-
                                       the-metadata-file.
DRIVE REVIEWS                          Google Drive metadata regarding file
                                       approvals. See
                                       https://support.google.com/vault/answer/60994
                                       59#drivexml&zippy=%2Cfile-parameters-in-
                                       the-metadata-file.
DRIVE USER QUERY                       The Google Drive query submitted by the
                                       Vault user that retrieved the files included in
                                       the export. See
                                       https://support.google.com/vault/answer/60994
                                       59#drivexml&zippy=%2Cfile-parameters-in-
                                       the-metadata-file.
DOC LINK                               Metadata tying linked and linking documents,
                                       per Section J, below.


FILESIZE                              The original file size of the produced document
ORIGINATING PATH                    File path of the file as it resided in its original
                                    environment. For email, the full folder path of
                                    email within a mail store when collected,
                                    including file name; or full folder path of instant
                                    message or text message when collected
                                    including file name; or Hard Copy folder/binder
                                    title/label. Prepend with Custodian Name
                                    (sample: Smith, James-Inbox\Active). For other
                                    documents, the full absolute original path to the
                                    native, including original file name and root
                                    directory as they existed in their original
                                    environment, such that all information needed to
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                                    locate the file is in the path. Prepend with
                                    recognizable Custodian Name; e.g. Smith,
                                    James- C\MyDocuments\Sales
                                    Info\ACME\2017-Monthly- Sales.xlsx


REDACTIONS                             Indicate Yes if a document is redacted. If no
                                       leave blank.
NATIVE LINK                            Native File Link (Native Files only)
EMAIL THREAD ID                        Unique identification number that permits
                                       threading of email conversations. For
                                       instance, MS Outlook identification number
                                       ("PR CONVERSATION INDEX") is 22
                                       bytes in length, followed by zero or more
                                       child blocks each 5 bytes in length, that
                                       facilitates use of email threading.
                                       (Microsoft application documents only)
TEXTFILEPATH                           Path to extracted text/OCR file for document
EMAILSUBJECT                           Subject Line of email
TIMESENT                               Time email was sent
TIMEZONEUSED                           Time zone used to standardize
                                       date/time during document
                                       processing
RECEIVETIME                            Time email was received
FILENAME                               File Name of the edoc or email
TITLE                                  Any value populated in Title field of the
                                       document properties
SUBJECT                                Any value populated in the Subject field of the
                                       document properties
DOCEXT                                 File extension of the document
WITHHELD PLACHOLDER                    To the extent a document is fully withheld
                                       (on the basis of privilege or otherwise), this
                                       field must be populated with a "Y". If not
                                       applicable leave blank.
TECHNICAL ISSUE PLACEHOLDER            To the extent a file is withheld on the basis of a
                                       technical issue, this field must be populated
                                       with a "Y". If not applicable leave blank.
VOLUMENAME                             Unique production volume identifier applied
                                       (e.g., ABC001-001).
PAGECOUNT                              For Documents produced in TIFF form,
                                       number of pages in the Document. For
                                       Documents produced in native, page count will
                                       be 1 (for placeholder)




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E.     TIFFs. Documents that exist only in hard copy format shall be scanned and produced as

TIFFs. Documents that exist as ESI shall be converted and produced as TIFFs, except as provided

below. The imaged data shall retain all attributes of the native or hard-copy file to the extent

reasonably practicable. To the extent reasonably practicable, produced TIFF image will show all

text and images that are visible in the form in which the electronic document was last saved, with

the exception of redacted portions. Hidden content, tracked changes or edits, comments, notes,

and other similar information, shall to the extent reasonably practicable, be produced in native or

Microsoft-equivalent format, or be imaged so that such content is viewable on the image file.

Where hidden content, tracked changes or edits, comments, notes, or other similar information is

not readable in its produced format, a party that received the document may make reasonable

requests that a more readable version, such as a native or Microsoft-equivalent version, be

produced when helpful to interpret the contents of the relevant document. To the extent a

response to discovery requires production of Document(s) accessible only through proprietary or

enterprise software, the Parties shall meet and confer to finalize the appropriate production

format. Unless excepted below, single page, black and white, Group IV TIFFs should be

provided, at least 300 dots per inch (dpi) for all documents, with corresponding multi-page text

and necessary load files. Each TIFF image shall be named according to a unique corresponding

Bates number associated with the document. Each image shall be branded according to the Bates

number and the agreed upon confidentiality designation. Original document orientation should be

maintained (i.e., portrait to portrait and landscape to landscape). Documents that are difficult to

render in TIFF because of technical issues, or any other documents that are impracticable to

render in TIFF format, may be produced in their native format with a placeholder TIFF image

stating "Document Produced Natively." A producing party retains the option to produce ESI in

alternative formats if so agreed by the requesting party, which may include native format, or a


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combination of native and TIFF formats. For future productions of documents responsive to

properly propounded requests issued pursuant to Fed. R. Civ. P. 34 and 45, the producing party

will make reasonable efforts to identify documents with readability issues in advance of

production and, where issues are detected, to produce the document(s) in a more readable format

(such as in native or Microsoft-equivalent form). The foregoing provisions of Appendix E do not

apply to Investigation Materials (as defined in the governing Confidentiality Order, ECF No. 297)

or other cloned discovery. To the extent that Investigation Materials or other cloned discovery

contain documents responsive to properly propounded requests issued pursuant to Fed. R. Civ. P.

34 and 45 where the TIFF image is unreadable or has materially degraded the quality of the

original, the producing party shall, when requested and where possible and proportionate, provide

a higher quality TIFF image, or the native, Microsoft-equivalent, or original file.

F.     Color. A party that received a production may make reasonable requests that color images

be produced where color is helpful to interpret the contents of the relevant document. The

production of documents and/or ESI in color shall be made in single-page JPEG format (300 DPI).

All requirements for productions stated in this ESI Protocol regarding productions in TIFF format

apply to any productions of documents and/or ESI in color made in such an alternative format.

Reasonable requests that a document be produced in color for the reasons set forth in this

Paragraph will not be unreasonably denied by the producing party. If a producing party wishes to

object, it may do so by responding in writing and setting forth its objection(s) to the production of

the requested document in color.

G.     Text Files. A single multi-page text file shall be provided for each document, and the

filename should match its respective TIFF filename. When possible, the text of native files should

be extracted directly from the native file. Text files will not contain the redacted portions of the

documents. A commercially acceptable technology for optical character recognition "OCR" shall


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be used for all scanned, hard copy documents and for documents with redactions. All Documents

shall be produced with a link in the TextLink metadata field.

H.     Native Files. Spreadsheets (e.g. MS Excel) will be produced in native format unless

redacted. In the event spreadsheets require redactions, they shall be produced in Microsoft-

equivalent format (.xls, .xlsx). All presentations (e.g. Powerpoint) will be produced in native

format unless redacted. If a Requesting Party reasonably determines that a redacted file is not

reasonably usable, the Requesting Party and the Producing Party will discuss an alternative

method to produce the file in a reasonably usable format. To the extent that they are produced in

this action, audio, video, and multi-media files will be produced in native format. Native files shall

be produced with a link in the NATIVEFILEPATH field, along with extracted text (where

extracted text is available) and applicable metadata fields set forth in paragraph D above. A Bates

numbered TIFF placeholder indicating that the document was provided in native format must

accompany every native file.

I.     Request for Other Native Files. Other than as specifically set forth above, a producing

party need not produce documents in native format. If a party would like a particular document

produced in native format and this ESI protocol does not require the production of that document

in its native format, the party making such a request shall explain the reason for its request that the

document be produced in its native format. The requesting party will provide a specific Bates

range for documents it wishes to be produced in native format. The producing party need only

produce such a document in native format if reasonably practicable. Any native files that are

produced should be produced with a link in the Native Link field, along with all extracted text and

applicable metadata fields set forth in Appendix 1.

J.     Linked Files and Collaborative Work Environments. For future productions of

documents responsive to properly propounded requests issued pursuant to Fed. R. Civ. P. 34 or 45,


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the producingreceiving party shall may make reasonable and proportionate requests that the

producing party conduct an automateda reasonable search across all emails to befor relevant

documents identified via hyperlinks in produced, where the producing party has access to a tool

capable of performing such an automated search, to identify any emails that contain links to

another document. emails by identifying the hyperlink URL or hyperlinked language in the

produced email that the receiving party believes is relevant. For each link identified by the

receiving party, the producing party shall conduct a reasonable search for the document

corresponding with the link. The producing party shall process and produce relevant documents

corresponding with the email links, where reasonably practicable and proportionate, with metadata

or other information sufficient to identify the linking document. The foregoing provisions of

Appendix J do not apply to Investigation Materials or any other cloned discovery, unless

responsive to a Rule 34 document request in this litigation. A receiving party may make

reasonable and proportionate requests for production of linked documents missing from

Investigation Materials or any other discovery. where available. For documents produced pursuant

to this Appendix J, the producing party is not required to (a) conduct any further search of

documents corresponding with the email links, or (b) search for or produce linked documents

outside the scope of collection sets of documents for the agreed-upon custodians.

K.     Confidentiality Designation. Responsive documents in TIFF format will be stamped with

the appropriate confidentiality designations in accordance with the Protective Order entered in this

matter. Each responsive document produced in native format will have its confidentiality

designation identified in the filename of the native file and indicated on its corresponding TIFF

placeholder.

L.     Databases, Data Sources, Logs, and Other Structured Data. The parties shall meet and

confer regarding the production format and scope of data contained in databases, data sources, and


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logs in order to ensure that any information produced is reasonably usable by the receiving party

and that its production does not impose an undue burden on the producing party. To avoid doubt,

information will be considered reasonably usable when produced in Parquet or other commonly

utilized electronic formats, including CSV format, tabother character-delimited text format,

Microsoft Excel format, or Microsoft Access format. To the extent a party is constrained from

producing responsive ESI because of a third-party license or because software necessary to view

the ESI is hardware-dependent, the parties shall meet and confer in an attempt to reach an

agreement on whether alternative methods exist to enable the requesting party to view the ESI.

M.     Paper Documents. A producing party may make paper documents available for inspection

and copying in accordance with Federal Rules of Civil Procedure 34 and 45 or, additionally or

alternatively, scan and OCR paper documents. The following information shall be produced in the

load file accompanying production of paper documents produced by scan and OCR to the extent

reasonably practicable: (a) Beg Bates, (b) End Bates, (e) Custodian, (f) Confidentiality, (g)

Redacted; (h) BegAttach (if applicable), (i) EndAttach (if applicable), (l) TextLink, (m)

HashValue. Paper documents should be logically unitized for production to the extent reasonably

practicable. Generally, when scanning paper documents for production, distinct documents shall

not be merged into a single record and single documents shall not be split into multiple records.

The parties will make reasonable efforts to unitize documents correctly. Where a document or a

document group — such as folder, clipped bundle, or binder has an identification spine or other

label, the information on the label shall be scanned and produced as the first page of the document

or grouping to the extent reasonably practicable.

N.     Date and Time. No party shall modify the date or time as contained in any original ESI.

This provision does not prevent parties from deleting inaccurate date or time information that

arises as an incident of collection or processing.


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O.      Time Zone. To the extent reasonably practicable, ESI items shall be processed using a

consistent time zone and the time zone shall be disclosed to the requesting party.

P.      Auto Date/Time Stamps. To the extent reasonably practicable, ESI items shall be

processed so as to preserve the data/time shown in the document as it was last saved, not the date

of collection or processing.

Q.      Hidden Text. ESI items shall be processed, to the extent practicable, in a manner that

preserves hidden columns or rows, hidden text and fields, worksheets, speaker notes, tracked

changes, and comments.

R.      Bates Numbers. Bates number must always: (1) contain no special characters or spaces; 6

(2) for TIFF images, be sequential within a given Document; (3) identify the Producing Party; (4)

maintain a constant length of nine numeric digits (including 0-padding) across the entire

production; and (5) be unique across the entire production. Bates number must also maintain

consistent numbering across a family of Documents. Bates numbers shall not be applied in a way

that causes the text of the original Document to be obscured, deleted, or removed. If the Document

contains a Bates number from a prior lawsuit, investigation, or production, the Producing Party

shall avoid obscuring the previous Bates number or alternatively, shall provide a metadata overlay

allowing the Requesting Party to identify the corresponding Bates number.

S.      Compression Files. Compression or container file types (e.g., .CAB, .GZ, .RAR. .ZIP),

shall, where possible, be decompressed to ensure that a compressed file within a compression or

container file are decompressed into the lowest possible compression resulting in individual

folders and/or files. Original compression files and container files need not be produced, provided




6
 For the avoidance of doubt, hyphens, dashes, and underscores are permitted and are not “special
characters” within the meaning of this provision.
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that all Documents within the compression or container file are produced in accordance with the

specifications of this Order.

T.     Password Protected/Encrypted Files. The Producing Party shall make reasonable efforts

to ensure that all encrypted or To the extent Documents are password-protected Documents are

successfully processedor encrypted, the requesting party may make reasonable requests for review

and production under the requirements of this Order, and that responsive decrypted Documents are

produced. To the extent the producing party to process such Documents are not successfully

processed, the Producing Party agrees to notify the Requesting Party and thefor review. The

producing party shall use reasonable efforts to produce such documents where possible and

proportionate to do so. The parties shall meet and confer. to resolve any disputes arising under

this Appendix T.




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